                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Patricia Lowry
                                        Plaintiff,
v.                                                     Case No.: 1:20−cv−01939
                                                       Honorable Matthew F. Kennelly
RTI Surgical Holdings, Inc., et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 19, 2020:


        MINUTE entry before the Honorable Matthew F. Kennelly: Telephonic status
hearing held on 10/19/2020. The plaintiffs are given leave to file a 55−page combined
response brief to all the motions to dismiss and is to be filed by 12/4/2020. Defendant9;s
reply is due 1/4/2021. Mailed notice. (mma, )




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